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                  EXHIBIT H
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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
        -----------------------------------------------------------------------X
                                                                                   Index No.: 1:20-cv-02636
        MINHYE PARK,
                                                                                   DEFENDANT’S
                                           Plaintiff,
                                                                                   SECOND DEMAND
                                                                                   FOR PRODUCTION
                -against-
                                                                                   OF DOCUMENTS
        DAVID DENNIS KIM, M.D.,

                                           Defendant.
        -----------------------------------------------------------------------X

                        PLEASE TAKE NOTICE that, pursuant to Rules 26 and 34 of the Federal Rules

       of Civil Procedure, defendant DAVID DENNIS KIM, M.D. hereby demands that Plaintiff,

       MINHYE PARK, produce the following within twenty (20) days:

                                      DEMAND FOR PRODUCTION

                         1.      Produce copies of MINYE PARK’s records from the NATIONAL

       HEALTH INSURANCE SERVICE (NHIS) of South Korea;

                        2.       Any and all other collateral source records for MINYE PARK’s treating

       providers from 2010 to the present; and

                         3.      All employment records from 2015 through 2018 that Plaintiff intends to

       rely upon to support claims for lost earnings.

                        PLEASE TAKE FURTHER NOTICE, that all documents are to be produced in

       English and if the originals exist in Korean, a transcription of those documents along with copies

       of the original are to be produced.




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       Dated: New York, New York
              May 24, 2021

                                           Respectfully submitted,

                                           HEIDELL, PITTONI, MURPHY & BACH, LLP



                                           By:_
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                                              DAVID DENNIS KIM, M.D.

       TO:   VIA REGULAR MAIL and
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